          Case 1:21-cr-00670-CJN Document 14-2 Filed 11/30/21 Page 1 of 7




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-cr-00670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

            DEFENDANT’S SUR-REPLY TO GOVERNMENT’S REPLY TO
       THE DEFENDANT’S OPPOSITION TO THE GOVERNMENT MOTION FOR
        PROTECTIVE ORDER AND TO DISCLOSE GRAND JURY TESTIMONY

         Defendant Stephen K. Bannon, by and through his undersigned counsel, respectfully

submits this sur-reply to the Government’s Reply to the Defendant’s Opposition to the

Government Motion For Protective Order And To Disclose Grand Jury Testimony (Doc. 12). In

support of this sur-reply, we state as follows:

         A. The Government Rushed To File An Opposed Motion.

         The Government contends that there is a “standard protective order” in this district that

defense counsel should reflexively agree to – without having seen the discovery materials and

without the Government setting forth a particularized, specific showing that good cause demands

restricted handling for certain documents in the case. (Doc. 12 at 1-2). We disagree.

         There is no such “standard protective order” under the local rules. Nor is there a

requirement that defense counsel accept the Government’s proposed protective order. Unlike the

more expansive civil rules,1 the local criminal rules speak to a sole issue for consultation

between defense counsel and the Government before the first status conference – an “attempt to



1
    Compare LCvR 16.3 (“Duty To Confer”) with LCrR 16.1 (“Discovery”).
         Case 1:21-cr-00670-CJN Document 14-2 Filed 11/30/21 Page 2 of 7




obtain voluntary discovery of all materials and information to which the defense may be

entitled.” See LCrR 16.1. That consultation took place on November 17, 2021, two days after

defense counsel filed a notice of appearance in the case. During that telephone call, Government

counsel asked defense counsel whether we would agree to the Government’s proposed protective

order. Defense counsel advised the Government that because we had not had an opportunity to

review it carefully with Mr. Bannon, we could not agree to the proposed protective order.

Without further consultation or discussion, the Government filed its motion for a protective order

that night. (Doc. 9).

       Our first appearance before this Court was the next day, November 18, 2021. This Court

asked for the position of the parties on the Government’s motion. The Government asked the

Court to enter their “standard protective order” that day. (Tr. 11/18/2021 at 3, 10). Government

counsel also stated repeatedly that if the defense had a problem with its proposed protective

order, the defense should move this Court to seek its modification. (Id. at 11; 12-13). Defense

counsel asked for two weeks to respond to the Government’s motion, (Id. at 4),2 and noted that

“in terms of an order that would govern documents in this case . . . we are just very concerned

that there would be the withholding or the keeping from public view of documents where there is

a compelling interest in public disclosure.” (Id. at 12). The Court gave the defense until

November 24, 2021, to file an opposition to the Government’s proposed order (Id. at 13). We

filed our opposition on the due date.

       The Government suggests that the defense was obliged to further consult with them

before filing our opposition. That is not true under the applicable rules. The Government also




2
  Consistent with LCrR 47 (b), which provides that oppositions to motions be filed within 14
days of service or “at such other time as the Court may direct.”
                                                 2
         Case 1:21-cr-00670-CJN Document 14-2 Filed 11/30/21 Page 3 of 7




suggests that defense counsel’s position on the proposed Government motion for a protective

order, without one iota of basis in fact, is part of some attempt to “abuse criminal discovery”

(Doc. 12 at 1) and “publicly disseminate the [discovery] materials for an improper purpose.” (Id.

at 5). Again, not true. The Government’s reply is festooned with hyperbole.3 The tone of the

Reply – perhaps designed to score points with the media – is particularly odd given that the

Government chastises the Defendant for his response to press inquiries. But the use of strident

language in its brief cannot obscure the fact that the Government has yet to state particularized,

specific reasons that would justify its proposed protective order.

       The Government misstates the Defendant’s position on prejudice. (Doc 12 at 6) (“to

support his claims of prejudice, the defendant cites only to the provisions of the proposed

protective order outlining the handling of ‘Sensitive Materials.’”). This misses a key point. Our

opposition makes clear that we also oppose the proposed protective order’s provisions that would

govern the handling of “[a]ll materials.” (Doc. 11 at 1-2). The Government has yet to answer the

simple question – why is it necessary to have a protective order limiting the handling of “[a]ll

materials” in a case where Government counsel has represented to this Court that “most” of the

discovery is comprised of “materials that the defendant already has, because it’s [sic] his

correspondence with the House Committee or his correspondence with counsel for the former

President”? (11/18/21 Tr. at 3). If the Government’s contention is true, then there would be no

need for a protective order applicable to “[a]ll materials” in the case.

       As we made clear in our opposition, an “[a]ll materials” protective order would be

inconsistent with the principle of a public trial. If there comes a time when the Government has




3
 The first paragraph alone uses the terms “misleading” “erroneous claims” “exaggerated
assertions.” See (Doc. 12 at 1).
                                                  3
         Case 1:21-cr-00670-CJN Document 14-2 Filed 11/30/21 Page 4 of 7




identified a specific document that deserves protected treatment, then it must offer a

particularized, specific reason to limit the handling of that document. Even then, this Court

should employ the least restrictive means available, so as not to overly inhibit public access to

judicial documents. Well-settled authority holds that the Government bears the burden of

establishing a particularized, specific showing of good cause that outweighs the countervailing

public interests and potential prejudice to Mr. Bannon. United States v. Johnson, 314 F. Supp. 3d

248, 253 (D.D.C. 2018); United States v. Dixon, 355 F. Supp. 3d 1, 3-4 (D.D.C. 2019); United

States v. Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015).

       The authority that the Government cites in its Reply – which was not presented in its

initial motion – only serves to support the defense position that the Government has wholly

failed to meet its burden of establishing good cause in seeking a protective order. See, e.g. United

States v. Smith, 985 F. Supp.2d 506, 544-545 (SDNY 2013) (“the Government has demonstrated

that there is good cause for a protective order because of its compelling interest in ongoing

investigations into potentially serious criminal conduct that could be jeopardized by

dissemination of the discovery”).

       B. Providing Public Access To Judicial Records Does Not Equate To Trying the
          Case In The Press.                                                        .

       The Government’s second bite at the apple brings it no closer to the core issue. The

Government has still not established any “particularized, specific showing” that would help it

meet its burden of showing good cause that would justify subjecting to a protective order a

particular document or documents. This is a misdemeanor case. This is not a case where perjury

has been suborned. It is not a case where witnesses have been intimidated. In the absence of any

specific, particularized showing of actual harm, the Government conjures up a bogeyman. The

Government makes the far-fetched contention that “the defendant has indicated he intends to

                                                 4
            Case 1:21-cr-00670-CJN Document 14-2 Filed 11/30/21 Page 5 of 7




publicly disseminate the materials for an improper purpose.” (Doc. 12 at 5). Absolutely not.

Being able to use discovery materials to identify and question witnesses is not an improper

purpose. Quite the opposite, it is an essential purpose as guaranteed by the Sixth Amendment.

           The Government’s Reply reveals a fundamental misunderstanding about the guarantees

provided in the First and Sixth Amendments to the United States Constitution. Mr. Bannon’s

right to a fair trial encompasses the public disclosure of judicial records – those documents that

are used by the parties to influence a judicial decision. While it is undeniable that there is public

interest in this case, neither Mr. Bannon nor his counsel “gathered the press outside of the

courthouse.” (Doc. 12 at 2). It was the Attorney General of the United States, and the press office

of the U.S. Department of Justice, who initiated public comment on the charges against Mr.

Bannon.

           Public interest in the case is not being generated by the defense team. Instead, it is

members of the U.S. Government who are trying to influence public opinion on the case.

Members of the U.S. House of Representatives Select Committee have repeatedly stated that

they sought criminal charges against Mr. Bannon to make an example of him. In addition, they

have publicly released much of the correspondence that the Government now wants to claim is

“Sensitive.” In stark contrast, neither Mr. Bannon nor his counsel have disseminated to the

public any documents in the case. We have absolutely no intention “to publicly disseminate the

[discovery] materials for an improper purpose” as the Government so irresponsibly contends (Id.

at 5). 4




4
  The Government’s reliance on Shepherd v. Maxwell, 384 U.S. 333, 357-358 (1966) is
misplaced. The case had nothing to do with a protective order. The “carnival atmosphere” that
the Supreme Court discussed in that case involved, among other things, “the number of reporters
in the courtroom itself” during a trial, some of whom were “inside the bar” of the courtroom, and
                                                     5
         Case 1:21-cr-00670-CJN Document 14-2 Filed 11/30/21 Page 6 of 7




       The Government may label our opposition “frivolous” (Doc. 12 at 9), but we do not stand

alone in opposing the Government’s proposed protective order. See Attachment 3 (filed on

November 26, 2021, via email pursuant to the COVID-19 Clerk’s Office Operations

Information, captioned “The Press Coalition’s Motion To Intervene And Memorandum Of Points

And Authorities In Support Thereof” (seeking denial of Government’s motion for a protective

order in this case) (filed on behalf of: Cable News Network, ABC News, Buzzfeed News, CBS

News, The Wall Street Journal, The E.W. Scripps Company, Gannett Company, Gray Media

Group, The Los Angeles Times, Gray Media Group, The Los Angeles Times, National Public

Radio, NBC News, The New York Times, Pro Publica, and The Washington Post).

       In short, after the filing of our opposition, a broad coalition of media outlets made an

independent evaluation of the Government’s proposed protective order. That coalition reached

the same conclusion that we did – the Government’s proposed protective order should be

rejected by this Court because it is in tension with the First Amendment to the United States

Constitution, and constitutes a threat to an open and public judicial process.

       C. Grand Jury Secrecy Governs Those Materials At This Stage.

       The defense does not object to an order that allows the disclosure of grand jury materials

for limited purposes of trial preparation, consistent with Fed. R. Crim. P. 6. A draft order is

attached. See Attachment 4.

       WHEREFORE, for the foregoing reasons, Defendant Stephen K. Bannon respectfully

requests that this Court deny the Government Motion For Protective Order And To Disclose

Grand Jury Testimony.




circumstances where “newspapers and radio stations apparently interviewed prospective
witnesses at will.” Id. at 359.
                                                  6
        Case 1:21-cr-00670-CJN Document 14-2 Filed 11/30/21 Page 7 of 7




Dated: November 30, 2021                  Respectfully submitted,

                                          SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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                                          Counsel for Defendant Stephen K. Bannon



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of November 2021, a copy of the foregoing

Motion To File Sur-Reply was served via the Court’s CM/ECF system on all properly registered

parties and counsel.


                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)




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